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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

UNITED STATES OF AMERICA,

              Plaintiff,                         Case No. 09-20280
v.
                                                 Hon. Robert H. Cleland
FATIMA TOUFAILI,

           Defendant.
____________________________/

                      ORDER FOR PRODUCTION OF TRANSCRIPT

       The Court held a hearing on January 14, 2010, at which the Defendant, her

attorney, George Donnini, and Assistant United States Attorney Ronald Waterstreet

appeared, the Court granted Mr. Donnini’s Motion to Withdraw as counsel for Ms.

Toufaili, and ordered that the transcript of the hearing be sealed. New counsel has been

appointed pursuant to the Criminal Justice Act, and she has requested a copy of the

transcript of that hearing, and the Court has granted this request.

       IT IS ORDERED that court reporter Christin Russell shall produce the transcript

of the hearing before this Court on January 14, 2010 in this matter, and provide a copy

of that transcript only to counsel and the Court. The transcript shall remain under seal.



                                           s/Robert H. Cleland
                                          ROBERT H. CLELAND
                                          UNITED STATES DISTRICT JUDGE


Dated: February 4, 2010
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I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, February 4, 2010, by electronic and/or ordinary mail.


                                         s/Lisa Wagner
                                        Case Manager and Deputy Clerk
                                        (313) 234-5522
